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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL
   No.            2:23-cv-07282-ODW (MARx)                                  Date   December 19, 2023
   Title          Theron Aych v. Univ. of Ariz. et al.



   Present: The Honorable        Otis D. Wright, II, United States District Judge
                Sheila English                              Not reported                           N/A
                 Deputy Clerk                       Court Reporter / Recorder                    Tape No.
            Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Not present                                             Not present
   Proceedings (In Chambers):

       On December 15, 2023, certain Defendants (“Moving Defendants”) filed a Motion to
Dismiss Plaintiff’s Complaint. (ECF No. 41.) This was the first appearance for these Defendants
in this matter. However, Defendants have not filed a Central District Local Rule 7.1-1 Notice of
Interested Parties or a Federal Rule of Civil Procedure 7.1 Corporate Disclosure Statement. These
required documents are necessary for the Court to evaluate the potential need for recusal.

       The Court therefore ORDERS Moving Defendants to file a Notice of Interested Parties
and/or a Corporate Disclosure Statement within three (3) days of the date of this Order. Failure
to do so may result in the Court striking Defendants’ Motion.

         IT IS SO ORDERED.

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                                                     Initials of Preparer   SE




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